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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CAROLINE WETTERSTEN,                             )
                                                 )
                        Plaintiff,               )
                                                 )   NO:    1:15-cv-08516
vs.                                              )
                                                 )   Judge Andrea R. Wood
JOSEPH J. FOX,                                   )
                                                 )
                        Defendant.               )


                          RULE 58 MOTION BY PLAINTIFF FOR
                       ENTRY OF APPROVED FORM OF JUDGMENT

        Plaintiff, Caroline Wettersten, moves the court pursuant to Rule 58(b)(2) and Rule 58(d)

for a judgment in a separate document in the form attached hereto as Exhibit 2. In support,

plaintiff states the following:

        1.       On September 30, 2019, the Court entered a Judgment In A Civil Case in favor of

plaintiff. Copy attached as Exhibit 1. Said Judgment awards prejudgment interest to plaintiff

but does not specify the amount. Said Judgment also awards costs to plaintiff but does not

specify an amount.

        2.       According to the Court’s findings (Dkt #85, p. 4 of 30), Ms. Wettersten made a

valid, written demand for payment of the $150,000.00 owed to her by Mr. Fox on May 15, 2014.

Payment was due on or before June 6, 2014, and no amount was paid. Pursuant to the Illinois

Interest Act (815 ILCS 205/1), creditors are to receive interest at the rate of 5% per annum on all

moneys after they become due on any instrument of writing. 5% times $150,000.00 equals

$7,500.00. $7,500.00 divided by 365 days equals $20.55 per day.

        3.       The number of days between June 6, 2014 and September 30, 2019 can be

calculated as:
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                             2014    -    208 days
                             2015    -    365 days
                             2016    -    365 days
                             2017    -    365 days
                             2018    -    365 days
                             2019    -    273 days
                             Total -     1941 days

              1941 days times $20.55 per day equals $39,887.55 in prejudgment interest.

       4.     The September 30, 2019 Judgment also awarded costs to Ms. Wettersten without

specifying the amount. Recoverable costs under 28 U.S.C. § 1920 include docket/clerk fees,

deposition transcripts, and copying charges for documents used in the case. Ms. Wettersten paid

the following costs which she should be allowed under Rule 54(d) of the Federal Rules of Civil

Procedure:

                      Process Server:              $ 125.00
                      Filing Fees:                 $ 400.00
                      Deposition of Mr. Fox:       $ 1,278.25
                      Copying Charges:             $    60.70
                             Total                 $ 1,863.95

       5.     In order to avoid any future dispute over the precise amount of the money

judgment awarded to Ms. Wettersten (and the precise amount on which post-judgment interest

shall run), plaintiff asks the Court to set out the precise judgment amount in the form attached

hereto as Exhibit 2, including $39,887.55 in prejudgment interest and $1,863.95 in costs (Total

Judgment Amount = $191,751.50), and to order the Clerk to enter same in this case.

                                                Respectfully submitted,

                                                /s/ CRAIG M. WHITE
                                                Craig M. White, Attorney For Plaintiff
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                             CERTIFICATE OF SERVICE

      I hereby certify that on October 16, 2019, I electronically filed the foregoing RULE 58

MOTION BY PLAINTIFF FOR ENTRY OF APPROVED FORM OF JUDGMENT with

the Clerk of Court using the CM/ECF system, and served upon defendant Via Electronic Mail

to: jfox@sovestech.com.



                                              /s/ CRAIG M. WHITE
                                             CRAIG M. WHITE




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